           Case 3:12-cr-01374-BGS                        Document 34                Filed 06/07/12                PageID.126                                    Page 1 of 2


    '-A0245B      (Rev. 12111) Judgment in a Criminal Petty Case                                                                    I        I
                  Sheet 1
                                                                                                                                    IFILED
                                                                                                                                    . i

                                              UNITED STATES DISTRICT COURT 12 ~UN -7 PH t.: 04
                                      SOUTHERN DISTRICT OF CALIFORNIA     .1 ·.·.. 1':, ThJGT COUiH
                    UNITED STATES OF AMERICA          JUDGMENT IN A CRIMIN.~L
                                                                            , CAsE';- C/,UfU,,;'M
                                        v.                                         (For Offenses Committed On or Afterl·.~ovember 1, 1987\,. ?!IT"(
                    FLAVIO MENDOZA-FLORES (2)                                      Case Number: 12CR1374-BGS·                                     I
                                                                                                                                    I'
                                                                                    TIMOTHY GARRISON, FEDERA PEFENDER'S INC.            I




                                                                                   Defendant's Attorney
    REGISTRATION NO. 31724298

    o
    mE DEFENDANT:
    181pleaded guilty to count(s) ONE OF mE SUPERSEDING INFORMATION (MISDEMEANOR

    o was found guilty on count(s)                                                                                                          I
           ~a~~~~~                                                                                                                      I
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s)l'
                                                                                                                                                                    Count
    Title & Section                          Nature ofOtJense                                                                               II                     Numberlsl
18 USC 111                           ASSAULT ON A FEDERAL OFFICER (MISDEMEANOR)                                                             Ii



                                                                                                                                            :\


                                                                                                                                            \"



                                                                                                                                             II

                                                                                                                                             Ii

                                                                                                                                             II

   o d:::h:::::o:~i:
          The                                             :::;s_      2_th_rO_U_g_h~~~:_2::""_______O_f_th_i_SJ_'u_d_gm_en_t_._ _-+11+-1_-...._ _ _ _ __


   181 Count(s) UNDERLYING CHARGES                                                 is   0 arel8l dismissed on the motio                                    fthe United States.
   181 Assessment: $25.00 REMIITED.


   181 Fine waived                                    o Forfeiture pursuant to order filed                                                                     included herein.
              IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days o any change of name, residence,
        or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully pai •.IIfordered to pay restitution, the
        defendant shall notifY the court and United States Attorney ofany material change in the defendant's economic cir           stances.
                                                                                        MAY 31, 2012




                                                                                         o . ERNARD G. SKO                   L
                                                                                        UNITED STATES MAGISTRATE ~DGE

                                                                                                                                                  II   I
                                                                                                                                                                      12CR1374-BGS


                                                                                                                                                  il
                                                                                                                                                  Ii
     Case 3:12-cr-01374-BGS                               Document 34      Filed 06/07/12   PageID.127                          Page 2 of 2


AO 2458     (Rev. 12111)Judgment in Criminal Petty Case
            Sheet 2 - Imprisonment
                                                                                            Judgment ­ p ,                  1     of     2
DEFENDANT: FLAVIO MENDOZA-FLORES (2)                                                                     '\ ., '.           '
CASE NUMBER: 12CR1374-BGS                                                                                  I        I
                                                                  IMPRISONMENT                           ilj
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be i1risoned for a term of
          TIME SERVED (66 DAYS).                                                                           Ii i



    o Sentence imposed pursuant Title 8 USC Section 1326(b).
                                           to
                                                                                                           :\


    o The court makes the following recommendations to the Bureau of Prisons:                              \1




                                                                                                           I

                                                                                                           Ii i
    o The defendant is remanded to the custody of the United States Marshal.                                 :1

    o The defendant shall surrender to the United States Marshal for this district:
                                                                                ---------+11·,1-·1­
                                                                                                             \1 I



            Oat                                           Oa.m.    Op·m.   on
                as notified by the United States Marshal.
                                                                                                                I,
    o The defendant shall surrender for service of sentence at the institution designated by the Bur ,Ju of Prisons:
           O ________________________________________                                                ~+_------


           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.                                          I

                                                                                                                II

                                                                     RETURN                                     II,

 I have executed this judgment as follows:
                                                                                                                  :1    i
          Defendant delivered on        ________________________ to
                                                                                                                  \1


 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.




                                                                           By ________~~~~~~~~~__---------­
                                                                                        DEPUTY UNITED ST




                                                                                                                                   12CR1374-BGS
